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                                  Nebraska Supreme Court A dvance Sheets
                                          304 Nebraska R eports
                                                 KREJCI v. KREJCI
                                                 Cite as 304 Neb. 302



                                        M ark S. K rejci, appellant, v.
                                         Christina K rejci, appellee.
                                                   ___ N.W.2d ___

                                        Filed October 18, 2019.   No. S-18-908.

                 1. Appeal and Error. As a threshold matter, an appellate court must
                    determine what assignments of error were properly raised and argued
                    on appeal.
                 2. ____. The cross-appeal section of an appellate brief must set forth a
                    separate title page, a table of contents, a statement of the case, assigned
                    errors, propositions of law, and a statement of the facts, and when a brief
                    of an appellee fails to present a proper cross-appeal, an appellate court
                    declines to consider its merits.
                 3. Contempt: Appeal and Error. In a civil contempt proceeding where
                    a party seeks remedial relief for an alleged violation of a court order,
                    an appellate court employs a three-part standard of review in which (1)
                    the trial court’s resolution of issues of law is reviewed de novo, (2) the
                    trial court’s factual findings are reviewed for clear error, and (3) the trial
                    court’s determinations of whether a party is in contempt and of the sanc-
                    tion to be imposed is reviewed for abuse of discretion.
                 4. Judges: Words and Phrases. A judicial abuse of discretion exists when
                    a judge, within the effective limits of authorized judicial power, elects
                    to act or refrain from acting, but the selected option results in a deci-
                    sion which is untenable and unfairly deprives a litigant of a substantial
                    right or a just result in matters submitted for disposition through a judi-
                    cial system.
                 5. Contempt. Civil contempt proceedings are instituted to preserve and
                    enforce the rights of private parties to a suit when a party fails to com-
                    ply with a court order made for the benefit of the opposing party.
                 6. Contempt: Words and Phrases. Willful disobedience is an essential
                    element of contempt; “willful” means the violation was committed
                    intentionally, with knowledge that the act violated the court order.
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
                           KREJCI v. KREJCI
                           Cite as 304 Neb. 302
7. Contempt: Presumptions: Proof. Outside of statutory procedures
   imposing a different standard or an evidentiary presumption, all ele-
   ments of contempt must be proved by the complainant by clear and
   convincing evidence.
8. Visitation: Statutes. In Nebraska, grandparent visitation is controlled
   by statute.
9. Due Process: Notice. It is fundamental to due process that a person
   has reasonable notice and an opportunity to be heard appropriate to the
   nature of the proceeding and the character of the rights which might be
   affected by it.

  Appeal from the District Court for Douglas County: J.
Michael Coffey, Judge. Affirmed in part, and in part reversed
and vacated.
  Edith T. Peebles, of Brodkey, Cuddigan, Peebles, Belmont &amp;
Line, L.L.P., for appellant.
  Barry S. Grossman for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
  Miller-Lerman, J.
                     NATURE OF CASE
   After the father of two children passed away in 2014, the
children’s paternal grandfather obtained a decree for grand-
parent visitation in 2016. On one planned visit in 2018, the
children refused to visit their grandfather and the mother
was unable to compel them. The grandfather brought a civil
contempt proceeding against the mother, and the mother filed
a complaint for modification of grandparent visitation. With
regard to the contempt proceeding, following a hearing, the
Douglas County District Court found that the mother did not
willfully and contumaciously violate the visitation decree.
Although the court dismissed the complaint for modifica-
tion and did not hold a separate hearing on modification, it
ultimately modified the decree to, inter alia, reduce sum-
mer visitation with the grandfather. The grandfather appeals,
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
                        KREJCI v. KREJCI
                        Cite as 304 Neb. 302
and the mother attempts to cross-appeal. We affirm the dis-
missal of the complaint for contempt but vacate the order of
modification.
                    STATEMENT OF FACTS
   At the time the proceedings giving rise to this appeal were
initiated, the minor children—a girl who was 15 years old and
a boy who was 11 years old—lived in Nebraska with their
mother, Christina Krejci. The biological father of the two chil-
dren died in 2014. Following his death, Mark S. Krejci, the
children’s paternal grandfather, sought and obtained a decree
for grandparent visitation under Neb. Rev. Stat. § 43-1802(1)
and (2) (Reissue 2016). The decree, filed in December 2016,
ordered visitation that included 17 consecutive days each sum-
mer and part of a weekend every 3 months, or as agreed in
advance by the parties in writing. Mark and his wife live in
Florida. Visits under the decree went smoothly until May
19, 2018.
   Prior to the May 19, 2018, event from which this action
arises, the parties made arrangements for Mark and his wife to
visit. As planned, Mark and his wife flew to Omaha, Nebraska,
in May 2018. However, the children informed Christina that
they did not want to visit with the grandfather because May
19 was the date of their deceased father’s birthday. The grand­
father and his wife made several attempts to contact Christina
to pick up the children, and Christina replied, generally, that
the birthday was “a touchy day for all of [us]” and that she
felt it was “hard . . . to force them to go somewhere they don’t
want to [go]” and she did not want to “add to the[ir] pain.”
The grandfather was ultimately unable to exercise his visita-
tion on May 19.
   The grandfather brought a civil contempt proceeding and
complaint for interference of visitation against Christina, and
Christina filed a complaint for modification of the visitation
decree. The district court dismissed the motion for modifica-
tion on its own motion without holding a separate hearing
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
                        KREJCI v. KREJCI
                        Cite as 304 Neb. 302
because it found that it lacked jurisdiction “to allow grandpar-
ent visitation to take place or not take place upon the wishes of
the minor children.”
   As part of the hearing on the civil contempt action to deter-
mine whether Christina had willfully and contumaciously vio-
lated the court’s visitation order, the granddaughter appeared
in chambers. She testified that Christina had not told her not
to visit her grandfather. She testified that on May 19, 2018,
“I didn’t even want to be around my mom” and “I just think
that on that day I should have been asked and not told” to
have the visitation. She testified that she understood that her
brother felt similarly. In addition to her objections to exercis-
ing grandparent visitation on her father’s birthday, she gener-
ally expressed that she did not wish to be out of town for as
long in the summer as in the past because a lengthy visitation
affected her ability to work a summer job, complete driver’s
education classes, and participate in school activities. She
testified in particular that she was not able to participate in
cheerleading because of the grandparent visitation schedule.
However, she acknowledged that visitation with her grand­
father was an “important ingredient” to sustaining a relation-
ship with him.
   The record also contained email and text message exchanges
between Christina and Mark and Christina and Mark’s wife in
which Christina raised concerns that the length of visitation
was “a really long time for them to be gone.” Mark submitted
photographs showing the vacations the children had enjoyed
with him and correspondence showing his efforts to arrange
the visitation according to the decree.
   In an order filed July 2, 2018, the district court found
that Christina had not interfered with visitation and had not
willfully and contumaciously violated the visitation decree.
Accordingly, the court dismissed the complaint for contempt
and for interference of visitation. In the same order, the dis-
trict court determined that in light of the children’s ages, the
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
                          KREJCI v. KREJCI
                          Cite as 304 Neb. 302
children’s desire to remember their deceased father privately
on his birthday, and the summer activities that children have
as they get older, the decree of grandparent visitation should
be modified. The order modified the decree so that future
visitation would not include the date of the deceased father’s
birthday or the anniversary of his death and that summer visi-
tation would be reduced from 17 days to 8 days of continuous
vacation visitation.
   Mark appeals, and Christina attempts to cross-appeal.
                   ASSIGNMENTS OF ERROR
    On appeal, Mark claims, summarized and restated, that
the district court erred when it (1) determined that Christina
was not in contempt and (2) modified the decree of grandpar-
ent visitation.
    [1,2] Christina also attempts to raise a cross-appeal related
to her complaint to modify the decree. As a threshold matter,
we must determine what assignments of error were properly
raised and argued on appeal. In re Estate of Graham, 301 Neb.
594, 919 N.W.2d 714 (2018). Neb. Ct. R. App. P. § 2-109(D)(4)
(rev. 2014) provides:
       Where the brief of appellee presents a cross-appeal, it
       shall be noted on the cover of the brief and it shall be set
       forth in a separate division of the brief. This division shall
       be headed “Brief on Cross-Appeal” and shall be prepared
       in the same manner and under the same rules as the brief
       of appellant.
Thus, the cross-appeal section of an appellate brief must set
forth a separate title page, a table of contents, a statement
of the case, assigned errors, propositions of law, and a state-
ment of the facts. In re Estate of Graham, supra. However,
Christina’s cross-appeal section fails to set forth a separate
title page and a table of contents. When a brief of an appellee
fails to present a proper cross-appeal pursuant to § 2-109, as in
this case, we decline to consider its merits. See In re Estate of
Graham, supra.                              - 307 -
           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
                        KREJCI v. KREJCI
                        Cite as 304 Neb. 302
                  STANDARD OF REVIEW
   [3,4] In a civil contempt proceeding where a party seeks
remedial relief for an alleged violation of a court order, an
appellate court employs a three-part standard of review in
which (1) the trial court’s resolution of issues of law is
reviewed de novo, (2) the trial court’s factual findings are
reviewed for clear error, and (3) the trial court’s determinations
of whether a party is in contempt and of the sanction to be
imposed is reviewed for abuse of discretion. Martin v. Martin,
294 Neb. 106, 881 N.W.2d 174 (2016). A judicial abuse of
discretion exists when a judge, within the effective limits of
authorized judicial power, elects to act or refrain from acting,
but the selected option results in a decision which is untenable
and unfairly deprives a litigant of a substantial right or a just
result in matters submitted for disposition through a judicial
system. Id.
                           ANALYSIS
Contempt.
   Mark claims that the district court erred when it determined
that Christina was not in contempt of the decree of grandparent
visitation as a result of the May 19, 2018, event. We find no
merit to this assignment of error.
   [5-7] We recently described civil contempt proceedings as
follows:
         Civil contempt proceedings are instituted to preserve
      and enforce the rights of private parties to a suit when
      a party fails to comply with a court order made for the
      benefit of the opposing party. See, Hossaini v. Vaelizadeh,
      283 Neb. 369, 808 N.W.2d 867 (2012); Smeal Fire
      Apparatus Co. v. Kreikemeier, 279 Neb. 661, 782 N.W.2d
      848 (2010), disapproved on other grounds, Hossaini v.
      Vaelizadeh, supra. Willful disobedience is an essential
      element of contempt; “willful” means the violation was
      committed intentionally, with knowledge that the act
      violated the court order. Hossaini v. Vaelizadeh, supra.
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
                        KREJCI v. KREJCI
                        Cite as 304 Neb. 302
      Outside of statutory procedures imposing a different stan-
      dard or an evidentiary presumption, all elements of con-
      tempt must be proved by the complainant by clear and
      convincing evidence. See, id.; Smeal Fire Apparatus Co.
      v. Kreikemeier, supra.Martin v. Martin, 294 Neb. at 117, 881 N.W.2d at 182.
   We are aware that a parent may use a child’s hesitation to
visit a noncustodial person as a subterfuge for contumaciously
interfering with the visitation. Mark relies on the event of
May 19, 2018, to establish his claim of contempt. However, in
Martin, we observed that a “singular event,” which is not in
accordance with a court decree, may be defensible. Id. at 119,
881 N.W.2d at 183. Except for this event, the record shows
that grandparent visitation had gone smoothly. To illustrate
this history, we refer to the order dismissing the contempt
complaint in which the district court found “[e]vidence was
also adduced that as recently as March of 2018 [the grand-
daughter] traveled to Florida to visit with her grandfather over
spring break. Her brother was unable to attend because of a
recent ear surgery.” This case presents a singular event, but
not a pattern.
   The district court heard the evidence and stated that the
“primary reason” for the failure of grandparent visitation was
the fact that it was scheduled on the deceased father’s birthday,
which the court described as an “upsetting day.”
   In its order, the district court stated: “[The granddaughter]
testified that she and her brother were very upset because the
visitation was to take place on the birthday of their deceased
father. She further testified that her mother, [Christina], did in
no way encourage them not to participate in the visitation.”
The district court accepted this testimony and did not err in
doing so. The district court specifically found that with respect
to the granddaughter, “[i]t definitely was her decision not
to visit.”
   While we do not endorse the proposition that the responsi-
bility for adhering to a visitation plan devolves to the children,
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
                         KREJCI v. KREJCI
                         Cite as 304 Neb. 302
a logical conclusion which results from the district court’s
findings in this contempt case is that Christina did not encour-
age or instruct the minor children to refuse to participate in
the grandparent visitation. The district court viewed the event
of May 19, 2018, in the overall context of a general history
of compliance with the decree and the unusual circumstances
of that particular day persuaded it that Christina’s failure to
strictly enforce the terms of the order on that date was not will-
ful. The district court’s determination that Christina was not in
contempt was not an abuse of discretion.

Modification.
   Mark claims that the district court erred when it modified
the grandparent visitation decree in its order filed after the
contempt hearing. Given the procedural history of this case, we
find merit to this assignment of error. Accordingly, we reverse
that portion of the order of July 2, 2018, which modified
the decree of grandparent visitation, and we vacate the order
of modification.
   [8] At common law in Nebraska and elsewhere, “‘“grand-
parents lacked any legal right to visitation and communication
with their grandchildren if such visitation was forbidden by the
parents . . . . Indeed, the parents’ obligation to allow such visi-
tation was a moral, not a legal obligation.”’” Hamit v. Hamit,
271 Neb. 659, 673, 715 N.W.2d 512, 525 (2006), quoting Pier
v. Bolles, 257 Neb. 120, 596 N.W.2d 1 (1999). However, every
state has adopted a statutory scheme permitting grandparent
visitation under varying circumstances
      [i]n part due to changing demographics and the presence
      of single-parent households in which grandparents and
      other persons “outside the nuclear family are called upon
      with increasing frequency to assist in the everyday tasks
      of child rearing,” Troxel v. Granville, 530 U.S. 57, 64,
      120 S. Ct. 2054, 147 L. Ed. 2d 49 (2000), and in part due
      to a recognition of “the importance of the grandparent-
      grandchild relationship in the lives of children,” Moriarty
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
                        KREJCI v. KREJCI
                        Cite as 304 Neb. 302
      v. Bradt, 177 N.J. 84, 97, 827 A.2d 203, 210 (2003), cert.
      denied 540 U.S. 1177, 124 S. Ct. 1408, 158 L. Ed. 2d 78      (2004) . . . .
Hamit v. Hamit, 271 Neb. at 673-74, 715 N.W.2d at 525.
Thus, in Nebraska, grandparent visitation is controlled by
statute. Id.   Modification of grandparent visitation may be ordered pur-
suant to § 43-1802(3), which provides: “The court may modify
an order granting or denying such visitation upon a showing
that there has been a material change in circumstances which
justifies such modification and that the modification would
serve the best interests of the child.” Because we determine,
as explained below, that the process by which the district court
modified the grandparent visitation plan was flawed in this
case, we do not address the propriety of combining contempt
and modification of grandparent visitation in one hearing upon
proper notice.
   As explained in our statement of facts, Christina filed a
complaint to modify the decree of grandparent visitation on
June 21, 2018. An evidentiary hearing on Mark’s complaint
for contempt was conducted on June 28. The district court dis-
missed Christina’s complaint to modify on its own motion on
July 2, because it found that it lacked jurisdiction. The result
of the evidentiary hearing on Mark’s complaint for contempt
was contained in the district court’s order of July 2, in which it
dismissed the complaint but proceeded to modify the decree of
grandparent visitation.
   Mark contends in general that he did not receive proper
notice that modification would be considered at the hearing
of June 28, 2018, and in particular that he was denied the
opportunity to present certain evidence that would have per-
tained to modification. The record is consistent with Mark’s
contentions.
   [9] It is fundamental to due process that a person has rea-
sonable notice and an opportunity to be heard appropriate to
the nature of the proceeding and the character of the rights
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
                        KREJCI v. KREJCI
                        Cite as 304 Neb. 302
which might be affected by it. See Fetherkile v. Fetherkile,
299 Neb. 76, 907 N.W.2d 275 (2018). The procedural record
in this case shows that the district court effectively dismissed
Christina’s complaint to modify prior to the contempt hear-
ing and that it was reasonable for the parties to conclude that
modification was off the table. In fact, the bill of exceptions
shows that the court stated at the commencement of the hear-
ing on June 28, 2018, that the purpose of the hearing was to
consider Mark’s complaint for contempt.
   We agree with Mark’s contention that under the circum-
stances of this case, the court’s consideration and determina-
tion of modification as a consequence of the contempt hearing
were improper due to a lack of notice and an opportunity to be
heard. Accordingly, we reverse that portion of the order of July
2, 2018, which modified the decree of grandparent visitation,
and we vacate the order of modification.
                        CONCLUSION
   For the reasons explained above, we affirm the district
court’s ruling dismissing Mark’s complaint for contempt but
we reverse the portion of the order which modified the decree
of grandparent visitation and vacate the order of modification.
	A ffirmed in part, and in part
                                reversed and vacated.
